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          IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:09CR10
                              )
          v.                  )
                              )
MONICA HIATT,                 )                  ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on plaintiff’s motion

for continuance of change of plea hearing (Filing No. 40).                The

Court notes defendant has no objection.          Accordingly,

          IT IS ORDERED that the Rule 11 hearing is rescheduled

for:

                Friday, September 25, 2009, at 10 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.     The parties will have time to finalize

plea negotiations, and the ends of justice will be served by

continuing this case and outweigh the interests of the public and

the defendant in a speedy trial.        The additional time between

September 11, 2009, and September 25, 2009, shall be deemed
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excludable time in any computation of time under the requirement

of the Speedy Trial Act.     18 U.S.C. § 3161(h)(8)(A) & (B).

          DATED this 14th day of August, 2009.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court




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